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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                        IN THE UNITED STATES DISTRICT COURT                               July 17, 2024
                        FOR THE SOUTHERN DISTRICT OF TEXAS                             Nathan Ochsner, Clerk
                              CORPUS CHRISTI DIVISION

 PHH MORTGAGE CORPORATION,       §
                                 §
        Plaintiff,               §                     Civil Action No. 2:24-cv-29
                                 §
 v.                              §
                                 §
 MARIA CONCEPION DYE, KELLY DYE, §
 and JORGE TORRES                §
                                 §
        Defendants.              §


                AGREED JUDGMENT AS TO DEFENDANT KELLY DYE

       Came on to be considered the above-numbered and styled cause wherein PHH Mortgage

Corporation (“Plaintiff”) and Kelly Dye (“Defendant”), and collectively with Plaintiff (the

“Parties”), have announced to the Court that they desire to resolve all matters in controversy

between them. In light of the agreement of the Parties as expressed in this Agreed Judgment and

as shown by their signatures below, the Court finds that:

       1.      Plaintiff is the current owner and holder of the Texas Home Equity Note (Fixed

Rate-First Lien) dated March 9, 2011 (“Note”) in the principal amount of $176,250.00 executed

by Homer Leroy Dye and Penny K. Dye (“Borrowers”). Plaintiff is the current beneficiary of the

Texas Home Equity Security Instrument (First Lien) (“Security Instrument” and together with the

Note, “Loan Agreement”) executed by Borrowers and recorded in the Real Property Records for

Nueces County, Texas, on March 14, 2011, as Document No 2011009046 which provided Plaintiff

with a security interest on that certain real property commonly known as 339 Princess Drive,

Corpus Christi, Texas 78410, and more particularly described as follows:




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        LOT SIX-C (6-C), ROLLING ACRES SUBDIVISION, AN ADDITION TO THE
        CITY OF CORUS CHRISTI, NUECES COUNTY, TEXAS, ACCORDING TO
        MAP OR PLAT THEREOF RECORDED IN VOLUME 35, PAGE 129, MAP
        RECORDS OF NUECES COUNTY, TEXAS. (The “Property”)

        2.         The Security Instrument secures payment of the Loan Agreement with the Property.

        3.         Defendant Kelly Dye is the daughter of Homer Leroy Dye and Penny K. Dye.

Defendant stipulates that she disclaims her interest, if any, in the Property at issue in this lawsuit

and will not claim any interest in the Property at any future time, except as provided herein.

Additionally, she understands that the Court may rely upon the contents of this Agreed Order in

the adjudication of this matter.

        4.         The Parties agree that Defendant may claim excess proceeds after foreclosure of

her interest in the future, if any excess proceeds are available.

        5.         There is a default in payment or performance under the Note and Security

Instrument that secures the payment of Plaintiff’s lien.

        6.         Plaintiff is entitled to enforce the terms of the Loan Agreement against the Property.

It is therefore,

        ORDERED, ADJUDGED AND DECREED that Defendant has no interest in the

Property and is barred from claiming any interest in the Property in the future. It is further,

        ORDERED, ADJUDGED AND DECREED that Plaintiff, its successors and assigns,

may enforce its lien on the Property by proceeding with non-judicial foreclosure of Defendant’s

interest in the Property, as provided in the Security Instrument and TEX. PROP. CODE § 51.002. It

is further,

        ORDERED, ADJUDGED AND DECREED that the following are secured by the

Security Instrument on the Property: the outstanding balance of the Note, including attorneys’ fees;




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pre-judgment interest; post-judgment interest at the Note interest rate of 5.750%; and costs of

court. It is further,

        ORDERED, ADJUDGED AND DECREED that the successful bidder at the foreclosure

sale shall be vested with title to the Property. It is further,

        ORDERED, ADJUDGED AND DECREED that Defendant may claim excess proceeds

if any are available after the foreclosure sale. It is further,

        ORDERED, ADJUDGED AND DECREED that except as otherwise noted, Defendant

and Plaintiff are each to bear their respective costs and attorney’s fees, if any. It is further,

        ORDERED, ADJUDGED AND DECREED that all costs incurred with respect to

Plaintiff’s claims against Defendant are taxed against the party incurring same. It is further,

        ORDERED, ADJUDGED AND DECREED that Plaintiff may charge attorneys’ fees and

costs, which may be added to the balance of the Note and enforceable only against the Property,

not as a personal judgment against Defendant. It is further,

        ORDERED, ADJUDGED AND DECREED that this Agreed Partial Judgment only

resolves claims between Plaintiff and Kelly Dye. Plaintiff’s claims against Defendants Maria

Concepion Dye and Jorge Torres remain pending before the Court.



                      17th day of ____________________
        Signed this _______           July             2024.




                                                         UNITED STATES DISTRICT JUDGE




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Agreed as to form and substance:

By:     /s/ John M. Gregory
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And

By:     /s/ Kelly Dye____________
        KELLY DYE
        150 50TH Avenue, Apt. 904
        Long Island City, NY 11101
        kellykdye@gmail.com
        Defendant




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